Case 1:20-cr-00006-PB Document 109
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                                          a^y^                 ,I
                               /M^t\^o/\ 4=> r^c€>^^'<yf^r

                              ""f)^ c\^^ y>l-fe>Ot^O^ Ayg^                    -Av:!.
                              jput                     Agg?g)^ W-      oa.'Ai^<^)^
                              /iQ -f)vg [^^*.(1 V/<SL.yO d-^

                                              iig<*Or/                         '<^A .

                             ^(X iA/^g/MiW/ d*^'VW^                 /*k^
                                                g*- r^Ui 4e>
                                      P^C^djJ^jyion^f T|)i,^ng^.jL ^v3j(J
                              /terh hb              ^ eg4<jg*^-e/ w\^ |l^ieJ4'll
                                          _ .                   iTa^l.tf rs
                              gbseA/g-^ -fkg^                   -hW: ^fd?0/^ wM
                              CrAjyiiZ^ 4l^ Jhalfgy.^               CT^f/y wJ^uT^
                              A,\tAAhi: f-^                              v^-a- vA/^-t-k
                              QL -feggj gK/e/" IV^^AVrAe^ 4g?
                              (Tgiv^ dhf^cx/^ -Hv^ ^/^ciJ                  />jpgHr
                                                   c^^o^cpyA
                              iOy/< TV gv5^ -H\el 6c60o^d'y                   pftsi
                              "TP "Bv^7                  rs           ^l£c^


                              ^OdO<A-jL^
